                 Case 1:94-cr-05011-LJO Document 654 Filed 08/28/13 Page 1 of 2


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 7                                UNITED STATES DISTRICT COURT
 8                              EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                             CASE NO. CR F 94-5011 LJO

11                                                         ORDER TO DENY RELIEF ON
12                                                         ENHANCEMENTS
                            Plaintiff,                     (Doc. 652.)
13
            vs.
14
15
16   ROBERT GONZALES,
17                     Defendant.
18   ______________________________/

19          Defendant Robert Gonzales ("defendant") filed August 16, 2013 papers to seek relief to

20   the effect that sentencing enhancements for firearm possession and leadership role were

21   unwarranted. This Court DENIES defendant's requested relief in that:

22          1.       Defendant fails to demonstrate this Court's jurisdiction to amend or alter his

23   Presentence Investigation Report or to otherwise correct it;

24          2.       Defendant has waived issues of which he complains given the passage of time

25   and that sentencing was the proper time to address the issues;

26          3.       This Court cannot investigate the issues which defendant raises, in particular the

27   firearm enhancement; and

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                                   Case 1:94-cr-05011-LJO Document 654 Filed 08/28/13 Page 2 of 2


 1                            4.       This Court, by retired District Judge Oliver Wanger's May 20, 2010 letter,
 2   addressed whether defendant acted as a leader, to exhaust what this Court is able to do.
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 6   IT IS SO ORDERED.
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                           Dated:     August 28, 2013                       /s/ Lawrence J. O’Neill
 8   DEAC_Signature-END:
                                                                         UNITED STATES DISTRICT JUDGE

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